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rN THE UNITED sTATEs DISTRJCT CoURT Fl*`-*`:"~"` - ~ ‘
FoR THE WESTERN DISTRICT or TEi\n\iEsSE§5 m _7 PH h 29
WESTERN DrvtsIoN ’ J~'L- ~

 

UNITED STATES OF AMERICA

 

V.

JUAN DELABRA oscr20249-1- j

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on w é;, Z,Od$ the United States Attorney
for this district appeared on behalf of the §dvemn‘ént, and the defendant appeared in person and With
counsel:

NAMEMd/I/(@ 775 "W?~£&M_M 1 Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a Distn'ct Judge, such period is extended.

{/The defendant, who is not in custod may stand on his pre nt bond.
The defendant, (not haviI§/made"l£(nd) (being a Mner) (being a federal prisoner)
(bein;g,r held Without bond pursua to BRA of 1984), is remanded to the custody of the U.S. Marshal.
”" 5
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UNITED STATES MAGISTRATE IUDGE

CHARGES - 21:846
conspiracy to distribute controlled substance

Attorney assigned to Case: T. Colthurst

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UNITED sTATE D"iSIC COURT - WESTRNE D'S'TRCT oFTENNESSEE

   

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This notice confirms a copy of the document docketed as number 14 in
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Thomas A. Colthurst

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Charles Medlin

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3555 Timmons Lane

Ste. 1444

Houston, TX 77027

Honorable J. Breen
US DISTRICT COURT

